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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

  In re:                                             Chapter 11

  Crave Brands, LLC and                              Case No. 21bk04729
  Meathead Restaurants, LLC,                         Case No. 21bk04731

  Debtors.                                           Judge Timothy A. Barnes

                    ORDER GRANTING DEBTORS’ APPLICATION
                    TO SET HEARING ON EMERGENCY MOTIONS

        The court having reviewed Debtors’ Application to Set Hearing on Emergency Motions
[Dkt. No. 9 in Case No. 21bk04729 (the “Application”) filed by Crave Brands, LLC and by the
debtor in the related, above-captioned case Meathead Restaurants, LLC (together, the “Debtors”),
in which Application the Debtors seek that the court hear the following motions (the “Motions”)
on an emergency basis:

       a. Debtors’ Motion for Joint Administration of Chapter 11 Cases;

       b. Debtors’ Motion to Use Cash Collateral and to Provide Adequate Protection;

       c. Debtors’ Motion for an Order Authorizing Debtors to Pay Prepetition Wages and
          Employee Benefits;

       d. Debtors’ Motion for an Order Authorizing Debtors to Pay Certain Prepetition Taxes;

       e. Debtors’ Motion for an Order Authorizing Debtors to (A) Honor Prepetition
          Gift Cards, and (B) Continue Customer Loyalty Programs; and

       f. Debtors’ Motion for an Order Authorizing Debtors to (A) Continue
          Maintenance of Existing Bank Accounts, and (B) Continued Use of Existing
          Business Forms.

       IT IS HEREBY ORDERED THAT the Application is GRANTED as follows:

        Once the Debtors have filed the Motions, the court will conduct an emergency hearing (the
“Emergency Hearing”) on the Motions via Zoom on Tuesday April 13, 2021 at 4:00 p.m.
prevailing Central time. The Zoom hearing information is as follows:

             Meeting ID:      161 236 0271
             Passcode:        04132100

       Join the Emergency Hearing by following the prompts at zoom.com, using one of the Zoom


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applications or dialing directly to 669-254-5252 or 646-828-7666. Parties are encouraged to only
use the phone method of joining if the other methods are unavailable to them.

       While all parties are responsible for connecting and maintaining their connection to the
Emergency Hearing, any party experiencing difficulty joining the Emergency Hearing may email
the court at barnes_chambers@ilnb.uscourts.gov and explain the issue.

       All parties are expected to be familiar and comply with Judge Barnes’s Zoom hearing
protocols available on the court’s web site at: https://www.ilnb.uscourts.gov/content/judge-
timothy-barnes. Parties must also be familiar and comply with the court’s Third Amended
General Order 20-03, a copy of which is attached to this Order.

     THIS EMERGENCY HEARING WILL BE CONDUCTED WITH THE VIDEO
FUNCTION ON. ALL PARTIES ARE EXPECTED TO DRESS AND CONDUCT
THEMSELVES ACCORDINGLY.

       The Debtors will be responsible for demonstrating at the Emergency Hearing that the notice
they have given of the Emergency Hearing comports with the requirements of due process.

Dated: April 12, 2021                               ENTERED:




                                                    Timothy A. Barnes
                                                    United States Bankruptcy Judge




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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS

                               _______________________________

                       THIRD AMENDED GENERAL ORDER NO. 20-03

                     Court Proceedings During COVID-19 Public Emergency

                               _______________________________

       Because a state of emergency has been declared in response to the spread of COVID-19,

and because the Centers for Disease Control and Prevention have urged reduced contact among

people to slow the spread of the disease, the U.S. Bankruptcy Court for the Northern District of

Illinois issues this order, effective October 13, 2020, to protect public health.

       1. Court hours. The Bankruptcy Court will remain open during normal business hours,

pending further order of court. Because some deadlines under the Bankruptcy Code and Federal

Rules of Bankruptcy Procedure cannot be changed, the Bankruptcy Court will remain open as

long as possible.

       2. All court calls to be heard electronically. All court calls will be held remotely by

electronic means. No personal appearances in court will be necessary or permitted, unless the

judge orders otherwise. Attorneys must direct their clients not to appear in person at the

courthouse.

       3. Motions. Local Rule 9013-1(E)(1) governing presentment of motions in court is

suspended. All motions will be heard remotely by electronic means, without personal

appearances. Movants must use one of the two attached Notice of Motion forms.

       4. Court appearances by Zoom for Government or AT&T Teleconference. At the

discretion of the individual judge, the bankruptcy court will use either Zoom for Government or

AT&T Teleconference for court appearances. There is no charge for using these services (other
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than the usual toll charges for Zoom for Government). Attorneys and parties in interest should

consult the individual judge’s page on the court’s web site to see which service the judge uses.

          a. Zoom for Government. Attorneys and parties may connect through Zoom for

Government by computer or by telephone. To connect by audio only, a telephone or a computer

with a microphone and speakers (or headphones) is necessary. To connect by video, a computer

with a webcam and microphone or a smartphone with audio-visual capability is necessary.

               To appear by video, use the following link: https://www.zoomgov.com/ Then

enter the meeting ID and password. The applicable meeting ID and password can be found on

the judge’s page on the court’s web site: https://www.ilnb.uscourts.gov.

               To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-

646-828-7666. The meeting ID and password will differ for each court call. The applicable

meeting ID and password can be found on the judge’s page on the court’s web site:

https://www.ilnb.uscourts.gov.

          b. AT&T Teleconference. Attorneys and parties may connect through AT&T

Teleconference only by telephone. To do so, dial the toll-free number and enter the access code

followed by the pound (#) sign. The toll-free number and access code will differ for each judge

and can be found on the judge’s page on the court’s web site: https://www.ilnb.uscourts.gov.

       5. Protocols for electronic court appearances.

          a. Your computer or telephone must be on “mute” except when your case is called.

          b. Each time you speak, identify yourself for the record. Remember to speak slowly

and distinctly. Do not interrupt others.

          c. Do not use a speaker phone or call from a public place. Disruptions or background

noise may cause the judge to mute you or terminate your participation.

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          d. No one except the assigned court reporter or another person that the court directs

may record the audio or video.

          e. Though held remotely by electronic means, each court call is a judicial proceeding.

Formalities of a courtroom will be observed. Participants must conduct themselves in a suitable

manner and if appearing by video must dress appropriately.

       6. Dates and times of individual judges’ court calls. To avoid simultaneous electronic

court calls, the judges will hear matters on the following schedule rather than as originally

scheduled, noticed, or (unless otherwise indicated) shown on the court’s web site. Attorneys

must check the court’s docket to ensure that a matter has not been rescheduled.

          a. Outlying county court calls (Joliet, Kane County, Lake County): All outlying

county court calls will be held on the same dates and at the same times as previously scheduled

but will be held electronically.

          b. Chapter 7 and Chapter 11 calls: Each judge’s chapter 7 and chapter 11 call will

be held on a single day as follows.

            • Chief Judge Goldgar: Monday, original motions at 9:30 a.m., set matters at 10 a.m.

            • Judge Baer: Wednesday, original motions at 1:00 p.m., set matters at 1:30 p.m.

            • Judge Barnes: Monday, original motions at 1:00 p.m., set matters at 1:30 p.m.

            • Judge Cassling: Tuesday, original motions at 9:30 a.m., set matters at 10:00 a.m.

            • Judge Cleary: Wednesday, original motions at 10 a.m., set matters at 10:30 a.m.

            • Judge Cox: Tuesday, original motions at 1:00 p.m., set matters at 1:30 p.m.

            • Judge Doyle: Thursday, original motions at 10 a.m., set matters at 10:30 a.m.

            • Judge Hunt: Thursday, all matters at 11 a.m.

            • Judge Lynch: Wednesday, all matters at 11 a.m.

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       • Judge Schmetterer: Tuesday, original motions at 10 a.m., set matters at 10:30 a.m.

       • Judge Thorne: Thursday, original motions at 9 a.m., set matters at 9:30 a.m.

      c. Chapter 13 calls and Western Division Chapter 12 calls:

       • Chief Judge Goldgar: Tuesday afternoon

                 1:15 p.m. trustee motions
                 1:30 p.m. original motions
                 2:00 p.m. set matters
                 2:30 p.m. confirmations

       • Judge Barnes: Thursday afternoon

                 1:00 p.m. trustee motions
                 1:30 p.m. original motions
                 2:00 p.m. set matters
                 2:30 p.m. confirmations

       • Judge Cassling: Thursday morning, at times currently shown on the court’s web
                         site

       • Judge Cleary: Monday afternoon

                 1:00 p.m. trustee motions
                 1:30 p.m. original motions
                 2:00 p.m. set matters
                 2:30 p.m. confirmations

       • Judge Cox: Monday morning, at times currently shown on the court’s web site

       • Judge Doyle: Tuesday morning, at times currently shown on the court’s web site

       • Judge Lynch: Thursday morning

                 8:45 a.m. trustee motions
                 9:00 a.m. original motions
                 10:00 a.m. confirmations
                 11:00 a.m. chapter 12 matters

       • Judge Schmetterer: Wednesday morning, at times currently shown on the court’s
                            web site




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              • Judge Thorne: Wednesday afternoon

                         1:00 p.m. trustee motions
                         1:30 p.m. original motions
                         2:00 p.m. set matters
                         2:30 p.m. confirmations

        7. Motions; Objection procedure; Service. The following procedures apply to all

motions noticed for presentment on or after October 13, 2020.

             a. Every motion must be filed using the applicable attached Notice of Motion form.

If a motion noticed for presentment on or after October 13, 2020, has already been filed, the

movant must file and serve an amended notice of motion using the applicable Notice of Motion

form.

             b. A party who objects to a motion and wants it called must file a Notice of Objection

no later than two (2) business days before the presentment date.

             c. A Notice of Objection need only say that the respondent objects to the motion. No

reasons need be given for the objection.1/

             d. If a Notice of Objection is timely filed, the motion will be called on the

presentment date.

             e. If no Notice of Objection is timely filed, the court may grant the motion without a

hearing before the date of presentment.

             f. Local Rule 9013-1(D) governing service of motions is suspended in part. All

motions must be served at least seven (7) days before the date of presentment, regardless of the

method of service.



        1/
               For example, a trustee’s objection to a chapter 13 debtor’s motion to modify the
plan post-confirmation need only say: “The trustee objects to the motion to modify the plan.”

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          g. Any matter not subject to a deadline in the Bankruptcy Code or Bankruptcy Rules

may be continued to another date by agreement of the parties. To obtain a continuance, the

parties should contact chambers.

       8. Trials and evidentiary hearings. All trials and evidentiary hearings will be held by

video using the Zoom for Government platform. No trials and evidentiary hearings will be held

in the courthouse. See General Order No. 20-05.

       9. Original Non-Attorney Signatures. Section II.C.1 of the Administrative Procedures

for the Case Management/Electronic Case Filing System is suspended. Electronic signatures

using a method like DocuSign will be accepted.

       10. Deadlines in Bankruptcy Code and Bankruptcy Rules unchanged. Nothing in

this order alters in any respect deadlines under the Bankruptcy Code or Bankruptcy Rules.

       11. Authority of judges to enter orders unaffected. This order does not affect the

authority of judges to enter orders in any bankruptcy case or proceeding.

       12. Local Rules remain in effect. Except as provided in this order, the Local Rules of

the Bankruptcy Court and the court’s Administrative Procedures for the Case Management/

Electronic Case Filing System remain in effect, including Local Rule 9013-2 concerning

emergency motions.

       13. Effective date; Superseding effect of this order. This order is effective October

13, 2020. On the effective date, this order supersedes all other orders and all notices from

individual judges concerning court proceedings during the current emergency.

Dated: September 28, 2020
                                             ENTERED FOR THE COURT:

                                             __________________________________
                                              A. Benjamin Goldgar
                                              Chief Judge

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        1. Notice of Motion form for Zoom for Government

                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


                                           [caption]


                                   NOTICE OF MOTION

TO: See attached list

       PLEASE TAKE NOTICE that on _______________, 20__, at ______ a.m./p.m., I will
appear before the Honorable ____________________, or any judge sitting in that judge’s place,
and present the motion of _________________________________________________ [to/ for]
______________________________________________________, a copy of which is attached.

       This motion will be presented and heard electronically using Zoom for Government.
No personal appearance in court is necessary or permitted. To appear and be heard on the
motion, you must do the following:

       To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting
ID and password.

      To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-
7666. Then enter the meeting ID and password.

       Meeting ID and password. The meeting ID for this hearing is ______________ and the
password is ____________. The meeting ID and password can also be found on the judge’s
page on the court’s web site.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without a hearing.


                                      [Name of movant]
                                      By: _______________________

                                      [Name, address, telephone number,
                                       and email address of counsel]
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                               CERTIFICATE OF SERVICE

       I, ____________________, certify [if an attorney]/declare under penalty of perjury under
the laws of the United States of America [if a non-attorney] that I served a copy of this notice
and the attached motion on each entity shown on the attached list at the address shown and by
the method indicated on the list on _______________________, 20__, at _______ a.m./p.m.




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        2. Notice of Motion form for AT&T Teleconference

                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION



                                           [caption]


                                   NOTICE OF MOTION

TO: See attached list

       PLEASE TAKE NOTICE that on _______________, 20__, at ______ a.m./p.m., I will
appear before the Honorable ____________________, or any judge sitting in that judge’s place,
and present the motion of _________________________________________________ [to/ for]
______________________________________________________, a copy of which is attached.

       This motion will be presented and heard electronically using AT&T Teleconference.
No personal appearance in court is necessary or permitted. To appear and be heard on the
motion, you must call this toll-free number: ______________________. Then enter access code
________________ followed by the pound (#) sign.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without a hearing.


                                      [Name of movant]
                                      By: _______________________

                                      [Name, address, telephone number,
                                       and email address of counsel]



                                 CERTIFICATE OF SERVICE

       I, ____________________, certify [if an attorney]/declare under penalty of perjury under
the laws of the United States of America [if a non-attorney] that I served a copy of this notice
and the attached motion on each entity shown on the attached list at the address shown and by
the method indicated on the list on _______________________, 20__, at _______ a.m./p.m.
